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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION

 ORAL SURGEONS, P.C.,                         )
                                              )
                Plaintiff,                    )   Case No. _________
                                              )
        v.                                    )   Judge ___________
                                              )
 THE CINCINNATI INSURANCE                     )
 COMPANY,                                     )
                                              )
                Defendant.                    )

                                   NOTICE OF REMOVAL

       Defendant THE CINCINNATI INSURANCE COMPANY (“Cincinnati”), pursuant to 28

U.S.C. §1446, hereby removes the above-captioned action, pending in the Iowa District Court for

Polk County as Case No. 05771 LACL148059 to the United States District Court for the Southern

District of Iowa, Central Division. Removal is based upon 28 U.S.C. § 1332. As grounds for

removal, Cincinnati states as follows:

       1.      Plaintiff ORAL SURGEONS P.C. (“Oral Surgeons”) filed a Petition against

Cincinnati in the Iowa District Court for Polk County under Case No. 05771 LACL148059 (the

“State Court Case”).

       2.      Oral Surgeons seeks a declaratory judgment in relation to insurance coverage

afforded by Cincinnati policy number ECP 0365736 issued to Oral Surgeons, including relief for

“all compensatory damages, including all forms of loss resulting from Cincinnati's breach of duty,

such as additional costs, losses due to nonpayment of the amount Cincinnati owes, and other direct

and consequential damages, as well as exemplary damages.” Petition, paragraph 51. A true copy

of the State Court Case Petition and proof of service are attached hereto as Exhibit 1.

       3.      The policy contains coverage limits in excess of $75,000.
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        4.      There is complete diversity of citizenship among the parties.

        5.      Oral Surgeons is an Iowa professional corporation headquartered in Des Moines,

Iowa and, therefore, is a citizen of the State of Iowa for purposes of diversity jurisdiction.

        6.      Cincinnati is an Ohio corporation headquartered in Fairfield, Ohio and, therefore,

is a citizen of the state of Ohio for purposes of diversity jurisdiction.

        7.      Pursuant to 28 U.S.C. § 1332, the District Courts have jurisdiction of all civil

actions where the matter in controversy exceeds the sum or value of $75,000, exclusive of interest

and costs, and is between citizens of different States.

        8.      This Court possesses removal jurisdiction under 28 U.S.C. §1441, which permits

removal of cases to federal court based on diversity of citizenship.

        9.      Cincinnati accepted service of the State Court Case on June 18, 2020.

        10.     As such this notice is being filed with the U.S. District Court for the Southern

District of Iowa within 30 days of determining that the case was removable to this Court. See 28

U.S.C. §1446(b).

        11.     This Court is situated in the district and division serving the location of the action

pursuant to 28 U.S.C. §1446(a).

        12.     Defendant will also file its “Notice of Removal to Federal Court” with the Iowa

District Court for Polk County and then serve a copy upon Plaintiff’s counsel pursuant to 28 U.S.C.

§1446(a) and (d).

              CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 81

        13.     Pursuant to Local Rule 81, Cincinnati certifies the following:

                a. Copies of all process, pleadings, and orders filed in the State Court Action are
                   attached hereto as Exhibit 1.




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               b. No matters are pending in the State Court Action that will require resolution
                  by this Court, other than the lawsuit that is the subject of this Notice of
                  Removal.

               c. The names of the counsel and the law firm that has appeared for Plaintiff Oral
                  Surgeons in the State Court Action are as follows:

                      Randy J. Wilharber
                      Tyler S. Smith
                      PEDDICORD WHARTON, LLP
                      6800 Lake Drive, Suite 125
                      West Des Moines, Iowa 50266
                      Phone: (515) 243-2132
                      Email: randy@peddicord.law
                      Email: tyler@peddicord.law

       WHEREFORE, this Action should proceed in the United States District Court for the

Southern District of Iowa, Central Division, as an action properly removed thereto.


DATED: July 16, 2020                 LANE & WATERMAN LLP


                                     By:     /s/ Robert V.P. Waterman, Jr
                                             Robert V.P. Waterman, Jr.
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                                             Davenport, Iowa 52801
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                                             Email: bwaterman@L-WLaw.com
                                             ATTORNEYS FOR THE
                                             CINCINNATI INSURANCE COMPANY



                                CERTIFICATE OF SERVICE

The undersigned certifies under penalty of perjury that on July 16, 2020, the foregoing instrument
was served via email upon Plaintiff’s counsel of record as follows:

       Randy J. Wilharber Email: randy@peddicord.law
       Tyler S. Smith Email: tyler@peddicord.law

                                             /s/ Robert V.P. Waterman, Jr.




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